                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

  UNITED STATES OF AMERICA                    )
                                              )       No. 1:17-cr-69
         v.                                   )
                                              )       JUDGE MATTICE
  BRANDON HORTON                              )       MAGISTRATE JUDGE LEE

                        INFORMATION PURSUANT TO 21 U.S.C. ' 851
                            REGARDING DEFENDANT=S PRIOR
                              FELONY DRUG CONVICTION

         COMES NOW the United States of America by and through J. Douglas Overbey, United

  States Attorney for the Eastern District of Tennessee, and Terra L. Bay, Assistant United States

  Attorney, and puts the defendant, David Henderson, on notice of its intent to enhance the

  defendant=s sentence pursuant to the provisions of 21 U.S.C. § 851. The defendant has the

  following prior felony drug convictions:

         Felony Possession of a Controlled Substance, Dekalb County, Alabama; arrest date
         October 20, 2010.


                                                              RESPECTFULLY SUBMITTED,

                                                              J. DOUGLAS OVERBEY
                                                              United States Attorney

                                                           By: s/ Terra L. Bay
                                                              Terra L. Bay
                                                              Assistant United States Attorney
                                                              1110 Market Street, Suite 515
                                                              Chattanooga, TN 37402




                                             Page 1 of 2

Case 1:17-cr-00069-HSM-SKL Document 248 Filed 03/15/18 Page 1 of 2 PageID #: 1117
                                    CERTIFICATE OF SERVICE

          I hereby certify that on March 15, 2018, a copy of the foregoing was filed electronically.
  Notice of this filing will be sent by operation of the Court=s electronic filing system to all parties
  indicated on the electronic filing receipt. All other parties will be served by regular U.S. mail.
  Parties may access this filing through the Court=s electronic filing system.


                                                                 /s/ Terra L. Bay
                                                                 Terra L. Bay
                                                                 Assistant United States Attorney




                                               Page 2 of 2

Case 1:17-cr-00069-HSM-SKL Document 248 Filed 03/15/18 Page 2 of 2 PageID #: 1118
